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5

6

7                    IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CASE NO. CR.S-04-118-LKK
                                   )
11                  Plaintiff,     )
                                   )          ORDER RE: STATUS CONFERENCE
12        v.                       )
                                   )
13                                 )
     DAVID C. HARRISON, et al.,    )
14                                 )
                    Defendants.    )
15   ______________________________)
16
          This matter came on for a status conference on May 8, 2007.
17
     The United States was represented by Assistant U.S. Attorney John
18
     K. Vincent.   Defendant Robert Oliver was present and was
19
     represented by Scott Tedmon, Esq..      Defendant David C. Harrison
20
     was represented by Scott Tedmon, Esq., appearing specially for
21
     Bruce Locke, Esq.; defendant Robert G. Hodges was represented by
22
     Scott Tedmon, Esq., appearing specially for Mark Reichel, Esq.;
23
     and defendant Edwin Jensen was represented by Emmett Mahle, Esq..
24
     The last three defendants were not present, having a waiver of
25
     appearance on file.
26
          Having heard from the parties, and GOOD CAUSE APPEARING
27
     THEREFORE, the Court sets the following briefing schedule:
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1    June 12, 2007         Defense motions due
2    July 10, 2007         Government<s responses due
3    July 24, 2007         Defense reply briefs due
4    August 14, 2007       Non-evidentiary hearing at 9:30 a.m.
5         In addition, the Court sets the matter for trial to begin on
6    October 16, 2007 at 9:00 a.m..     Trial confirmation is scheduled
7    for October 2, 2007 at 9:30 a.m..
8         Time between May 8, 2007 to October 16, 2007 is excluded
9    under the Speedy Trial Act pursuant to 18 U.S.C.
10   3161(h)(8)(B)(ii)(complexity) and 3161(h)(8)(B)(iv)(time to
11   prepare), Local Codes T2 and T4, respectively.        If any motions
12   are filed, time will also be excluded under 18 U.S.C. §
13   3161(h)(1)(F) (Local Code E) (delay resulting from any pretrial
14   motion, from the filing through conclusion of the hearing, or
15   other prompt disposition of the motion).       Time as to defendant
16   Jensen is also excluded under the Speedy Trial Act pursuant to 18
17   U.S.C. § 3161(h)(4) (mental or physical incompetence) and (h)(7)
18   (unsevered co-defendant awaiting trial), Local Codes N and R,
19   respectively.
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21   IT IS SO ORDERED.
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23   DATED: May 11, 2007
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